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                                  UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                      ALEXANDRIA DIVISION

            SONY MUSIC ENTERTAINMENT, et al.,.          Civil Action No. 1:18cv950
                                             .
                           Plaintiffs,       .
                                             .
                 vs.                         .          Alexandria, Virginia
                                             .          May 17, 2019
            COX COMMUNICATIONS, INC., et al.,.          10:01 a.m.
                                             .
                           Defendants.       .
                                             .
            . . . . . . . . . . . X

                                 TRANSCRIPT OF MOTION HEARING
                            BEFORE THE HONORABLE JOHN F. ANDERSON
                                UNITED STATES MAGISTRATE JUDGE

            APPEARANCES:

            FOR THE PLAINTIFFS:                 SCOTT A. ZEBRAK, ESQ.
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                COMMUNICATIONS, INC.;           Winston & Strawn LLP
                AND COXCOM, LLC:                1700 K Street, N.W.
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                                           (Pages 1 - 18)




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       1                             P R O C E E D I N G S

       2                THE CLERK:    Sony Music Entertainment, et al., versus

       3    Cox Communications, Inc., et al., Civil Action No. 18cv950.

       4                MR. BUCHANAN:     Good morning, Your Honor.

       5                THE COURT:    Good morning.

       6                MR. BUCHANAN:     Thomas Buchanan on behalf of

       7    defendants Cox.

       8                THE COURT:    Thank you.

       9                Mr. Zebrak?

      10                MR. ZEBRAK:    Good morning, Your Honor.

      11                THE COURT:    Thank you.

      12                Well, Mr. Buchanan, I'll hear from you, but I suggest

      13    you just focus anything you want to add to your pleadings as to

      14    Lessler -- Lesser and Sheckler.         I think I'm comfortable with

      15    allowing the depositions as to 30(b)(6) as to RIAA and to

      16    MarkMonitor, but the two individuals I need to hear a little

      17    bit more about.

      18                MR. BUCHANAN:     Okay.    So Victoria Sheckler, she

      19    worked for the RIAA, and during the time period in question,

      20    2012, '13, and '14, she negotiated the notice limit on behalf

      21    of the RIAA and the plaintiffs with Cox.

      22                THE COURT:    And she did all that as a corporate

      23    representative of RIAA?

      24                MR. BUCHANAN:     Yeah.

      25                THE COURT:    None of that was done in her individual




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       1    roles, right?

       2                MR. BUCHANAN:     Yes.

       3                THE COURT:    And so -- okay.

       4                MR. BUCHANAN:     So the, the plaintiffs have pointed

       5    out, I think the Court is getting to this point, that they've

       6    offered Steve Marks, a corporate representative, to testify to

       7    30(b)(6), so they say he will cover this correspondence.

       8                THE COURT:    And that, that was one of the topics that

       9    you laid out in the 30(b)(6) notice, the communications and

      10    negotiations or whatever having to do with the limit.

      11                MR. BUCHANAN:     Yes.

      12                THE COURT:    Okay.

      13                MR. BUCHANAN:     Yes, Your Honor.        But we feel that

      14    since the e-mails came from Ms. Sheckler and she, you know, had

      15    discussions beyond the e-mails with our personnel and our

      16    people, that she would be a better 30(b)(6).

      17                Now, obviously, we can't dictate that, but

      18    considering that it wouldn't be that long a deposition, they

      19    represent her and RIAA, it would be in D.C. and would be half a

      20    day at most, and considering the stakes here, that we're

      21    concerned that Mr. Marks, who we've deposed in other cases, you

      22    know, he's a good witness, a professional witness, is that

      23    we're not going to get the same type of testimony first, he

      24    acknowledged, testimony that we would get from Ms. Sheckler.

      25                Considering again that they're suing us for a billion




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       1    dollars, we're talking about a witness they represent that

       2    would take place at their law firm here in D.C. for a half a

       3    day, that that would be a reasonable request of the Court.

       4    It's not too much of a burden.

       5                Discovery doesn't end until July 2, and then

       6    Ms. Lesser we could do almost the same day or the same time.

       7    She's also represented by them.          And that would also take place

       8    in D.C.    We think she's an important witness because of her

       9    role with the Center for Copyright Information, which

      10    established the copyright alert system, which we think is very

      11    important as a comparable to what Cox did in terms of the way

      12    it reviewed notices and acted on notice of copyright

      13    infringement from the plaintiffs in this case.

      14                THE COURT:    Well, obviously, they, they, they don't

      15    believe that the Center for Copyright Information has any

      16    bearing on this case.      I mean, help me understand where you see

      17    that really fitting into the issues that are going to be

      18    litigated in the trial of this case.

      19                MR. BUCHANAN:     Okay.     So obviously, we're in

      20    discovery at this point --

      21                THE COURT:    Right.

      22                MR. BUCHANAN:     -- so, as Your Honor knows --

      23                THE COURT:    It seems to never end, either, I might

      24    add.

      25                MR. BUCHANAN:     Right.     Well, we're getting there, and




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       1    we appreciate the Court continuing it to July 2, but again,

       2    this will not be a long deposition, but here's why she's an

       3    important witness:      So as you know, the essence of the

       4    plaintiffs' case is our copyright review --

       5                THE COURT:    Right.

       6                MR. BUCHANAN:     -- system, that we didn't -- the first

       7    notice that came in, we didn't pass it on.

       8                We didn't pass on the next ones, and we had a cap,

       9    and it was 600 wasn't enough.

      10                I will point out that now that we've analyzed that

      11    information, it turns out they never even exceeded the old cap

      12    of 450 during the time period in question but six times, even

      13    though we gave them 600, and that goes to, back to

      14    Ms. Sheckler.     She negotiated that cap.

      15                They're making a big issue of that in their expert

      16    depositions and their complaint and in their allegations, when

      17    it terms out they never even came close to that.                They never

      18    adjusted for that.

      19                So where Ms. Lesser is important is she establishes

      20    this system called CAS, and what they did, the plaintiffs

      21    claim, well, it's not relevant because it wasn't legally

      22    required.

      23                Well, we weren't legally required to give them 600

      24    notices or 450 notices on a daily basis.             We weren't legally

      25    required to terminate after one, two, or three notices, which




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       1    they're claiming in their damage theory that we should have

       2    terminated after the first notice, just terminated the people

       3    completely.

       4                So what we're showing is, look, what is a comparable

       5    here?   What is reasonable in the industry at the time?                   So we

       6    know what we did.      So what did all the other ISPs do in

       7    coordination and agreement with the plaintiffs and the RIAA?

       8    They did one notice per complainant a week, every seven days.

       9    They terminated no one.

      10                So what is the standard here to the jury?                 There's no

      11    statutory requirement that you terminate after a certain amount

      12    or that you accept so many notices in a day or over a week.

      13    There's no regulation.       There's no prior case law.             So -- and

      14    yet they're saying we should have terminated after one notice

      15    56,000 subscribers.

      16                THE COURT:    What, what was Cox's relationship with

      17    CAS?    I mean --

      18                MR. BUCHANAN:     So --

      19                THE COURT:    -- my understanding was they were not a

      20    part of that.

      21                MR. BUCHANAN:     That's right.

      22                THE COURT:    Okay.

      23                MR. BUCHANAN:     So CAS establishes this graduated

      24    response system, which is much more lenient than our CAS

      25    system, and so we say we already have a system in place where




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       1    we go through this process and people drop off along the way.

       2                I'll add to you, Your Honor, that under our system,

       3    30,000 -- 30 percent, rather, of the people where one notice

       4    came in, we've now determined 30 percent never got another

       5    notice.    In fact, they never got a notice because we never

       6    forwarded the first notice.

       7                After the third notice, 75 percent of our subscribers

       8    that got notices from RIAA never got another notice.                  So the

       9    system worked.     When you got to five, you're up into the 80s.

      10                THE COURT:    Well, the system worked if you agree that

      11    there can be a cap on the number of notices.               I mean, if --

      12                MR. BUCHANAN:     Well, we --

      13                THE COURT:    But, I mean, that's one of the other

      14    issues in this case is if they had thousands of other notices

      15    that they couldn't provide you with, that doesn't necessarily

      16    mean there wasn't continuing infringement by people who had

      17    gotten a single notice.       It's just they got cut off in the

      18    number game, right?

      19                MR. BUCHANAN:     No.   Well -- no.       So -- well, the way

      20    our system worked is when -- the first notice created a ticket,

      21    and we didn't forward it, and what the evidence will show and

      22    our statistician will show is that, in fact, that was a proper

      23    decision business-wise because of those people, 30 percent

      24    never got another notice at all.         In other words, it was a

      25    mistake, the kid did it, they caught it, it's hard to know.




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       1                THE COURT:    Well, then --

       2                MR. BUCHANAN:     So then you get in -- okay.              If you're

       3    talking about the caps --

       4                THE COURT:    The notice, let, let me make sure I

       5    understand what you mean by notice, because notice means what

       6    Cox received, right?

       7                MR. BUCHANAN:     That's right, from the RIAA, from the

       8    plaintiffs.

       9                THE COURT:    And so the plaintiffs were limited to the

      10    number of notices that they could provide to Cox, right?

      11                MR. BUCHANAN:     Six hundred a day.

      12                THE COURT:    A day, okay.      So because they were

      13    limited with the number of notices that they could provide to

      14    Cox per day, that doesn't mean there wasn't continuing

      15    infringement by a customer of yours.           It's just you didn't have

      16    any notice of it, right?

      17                MR. BUCHANAN:     So we've analyzed their notices, and

      18    during the time period in question, they, they rarely, if ever,

      19    reached the 600 notices.       It was only by mistake.

      20                Six times over the two-year period, they exceeded the

      21    450 limit in a day by a couple.        That's because even though it

      22    was like 7 cents a notice, for some reason, they maintained the

      23    old cap.    So when you say, well, wait a second, they could have

      24    been going to 650, 700, that never happened.

      25                Would it have happened?       I don't know.          It did not




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     1    happen because they never bothered to adjust the system.

     2                And, and so the same 600 cap -- the cap with the

     3    other is relevant with CAS because I think it was the same for

     4    the five others ISPs.       The difference is we allowed one per day

     5    per complainant, per subscriber.          They under CAS was one a

     6    week.   Every seven days, you only -- the individual subscriber

     7    of the five other ISPs could get one notice a week.                   So -- and

     8    they did not terminate them ever, no termination requirement.

     9                Well, the plaintiffs will say, well, this was just an

    10    educational operation, that's all it was, but if you read the

    11    agreement, you read their web page, this was a serious attempt

    12    by the other ISPs -- Comcast, AT&T, Verizon, Cablevision, Time

    13    Warner -- to work with the plaintiffs in this case and their

    14    representative, RIAA, and that's where we get into CAS and the

    15    CCI, that's why it's relevant, and that's what our experts are

    16    going to testify.

    17                Because their experts are saying this is ridiculous.

    18    They should have terminated after one or two.                They should have

    19    had a higher cap.      They should have invested more resources,

    20    more computers, more people, and they should have terminated

    21    more.   Yet these same entities negotiated a whole different

    22    system which is much more lenient.

    23                So what do you compare it to to the jury?                 Is there a

    24    statute?    Is there a jury instruction based on a regulation and

    25    some cases?     No.




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     1                Here's what they did with everybody else.                  We

     2    employed a much more rigorous, tougher system, and I think we

     3    should be able to pursue this.

     4                Now, at the end of the day, Judge O'Grady can say no,

     5    but in that case, before we tried to get this evidence in in

     6    the BMG case but because we had not developed it during

     7    discovery, we tried to just put an expert up without ever

     8    developing the facts, it was denied.             It was never found to be

     9    not relevant but just never developed to give the plaintiffs in

    10    that case an opportunity to, to explore our theory.

    11                THE COURT:     Well, I guess you probably need to

    12    address if this was such an important part of your defense in

    13    this case and was so significant, why is it that it wasn't one

    14    of the five that you necessarily would have been able to take

    15    without leave of Court?       I mean --

    16                MR. BUCHANAN:     Well --

    17                THE COURT:     You get five nonparty, nonexpert

    18    depositions.     You've already taken four.            We've already talked

    19    about my inclination to let you take two more.                 So that's one

    20    over the element already.

    21                MR. BUCHANAN:     Right.

    22                THE COURT:     So if this person or this entity, but

    23    you're going to depose this person in their personal capacities

    24    if the entity isn't around anymore, why, oh, and this one a

    25    little bit earlier in the game, so to speak?




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     1                 MR. BUCHANAN:    Well, that's a fair point, and, and

     2    it's sort of a moving target.        So what we tried to negotiate

     3    with the plaintiffs is you've read about the Harbor Labs

     4    consulting company.

     5                 THE COURT:    Right.

     6                 MR. BUCHANAN:    And, and that was, that was beyond

     7    difficult.    The general counsel of Harbor Labs was telling the

     8    two scientists, the doctors, that they were going to violate

     9    their NDA if they talked to us.         So we had to go back and

    10    forth.

    11                 And so, you know, that should just be one in our view

    12    because they hid the ball -- not the plaintiffs but the Harbor

    13    Labs.    They were very difficult.

    14                 MarkMonitor, we're still litigating to try and depose

    15    them.    They fought every subpoena for documents.               They're

    16    fighting our ability to depose people.             They say they're in

    17    Europe.    And it has been extremely difficult.

    18                 So they are a key witness in the case.               You would

    19    think the plaintiffs, who have total access to them, would, you

    20    know, not cause them to resist us to the point we can make an

    21    argument that if we can't get to them, you shouldn't be able to

    22    use them.

    23                 And then Audible Magic.       They were not identified by

    24    the plaintiffs in their initial disclosure.               They, they

    25    disclosed two entities.       They disclosed MarkMonitor and RIAA.




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     1    Audible Magic, it turns out, is half of the competition of the

     2    technology they used to identify their infringement.                   They

     3    can't prove their case without Audible Magic.

     4                And they told this Court that we should have known

     5    about this on February 22, when they provided us with an Excel

     6    spreadsheet with thousands of data entries in 11 columns and in

     7    the lower case on one of the lower columns, there's this little

     8    Audible Magic, you know, as a header, that we were supposed to

     9    look at that and figure out we needed to depose Audible Magic.

    10                They can't prove their case without Audible Magic.

    11    They should have identified them in their initial disclosures.

    12                So if, if the Court is going to say you're only going

    13    to get seven, obviously, we would prefer to do Lesser, then

    14    Sheckler.    So -- if that's what we have to do.              But, you know,

    15    it is a big case, and, you know, as you know, this -- the five

    16    limit, I think, is something maybe Judge Bryan came up with a

    17    long time ago and is something I don't think is a hard limit in

    18    every case.     I think you come to the Court and you, and you

    19    make an argument that in certain cases, the size of the case,

    20    the complexity, there should be some leniency there.                   And these

    21    are only half-day depositions, and the stakes are enormous, and

    22    we are in discovery.

    23                So, Your Honor --

    24                THE COURT:     Okay.   Thank you.

    25                MR. BUCHANAN:     -- I appreciate your consideration.




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     1                THE COURT:     Let me hear from you on the Lesser

     2    deposition.     I think I'm comfortable in ruling on Sheckler

     3    without -- I'm comfortable ruling on Sheckler without hearing

     4    any more argument from you, but I do want to hear --

     5                MR. ZEBRAK:     Okay.

     6                THE COURT:     -- argument from you on Lesser, that

     7    deposition.

     8                MR. ZEBRAK:     Yes, Your Honor.        So I won't, I won't

     9    focus on Ms. Sheckler or the RIAA, but to begin with, both in

    10    their briefing and now in the oral argument, there are just so

    11    many flat-out incorrect statements about what our positions are

    12    and what's occurred during the course of discovery.

    13                And, you know, to begin with, Cox's counsel just says

    14    the plaintiffs at least should not cause MarkMonitor to resist.

    15    MarkMonitor's its own third party and --

    16                THE COURT:     Well, let's just talk about whether

    17    Lesser should be deposed or not.

    18                MR. ZEBRAK:     Okay.    I just, I just don't want a

    19    transcript where things are said and, you know, the

    20    implications arise from it.

    21                THE COURT:     Okay.    You're not admitting any

    22    statements that Mr. Buchanan said.

    23                MR. ZEBRAK:     Well, okay.      Because another court

    24    criticized their approach on that in several ways.

    25                So first of all, there's a couple reasons why we've




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     1    opposed -- I mean, first of all, we tried to work with Cox and

     2    said we're fine to stipulate, with the Court's permission, to

     3    one above the limit.

     4                Let me first explain the prejudice to us in the

     5    overall landscape of where we stand in the case and sort of

     6    what wakes me up at night, which is that currently, there's 31

     7    business days left in discovery as extended, and by my count --

     8                THE COURT:     And there are no more.

     9                MR. ZEBRAK:     Right.

    10                THE COURT:     I've made it clear that, that is --

    11                MR. ZEBRAK:     Right.

    12                THE COURT:     That's it.

    13                MR. ZEBRAK:     Understood that.        It was not, it was not

    14    a light, a light request from the parties to do that, but

    15    within that calendar period already, and this isn't exact

    16    because a couple depositions aren't necessarily noticed, by my

    17    count, there's 28 depositions left in 31 calendar days, and

    18    that includes 9 experts, and expert reports, reply reports

    19    still have to happen and pretrial preparation and high school

    20    graduations.     I mean, there's a lot going on, you know?

    21                And, you know, Mr. Buchanan mentioned Mr. Marks is a

    22    professional witness, which he's not.            The professional

    23    witnesses are the five experts they dropped on us yesterday,

    24    with reports about this thick.         So there's a lot going on.

    25                And this notion that there's no burden is, is kind of




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     1    an empty statement.      There is burden.        Witnesses need to get

     2    ready for a deposition and be deposed, and counsel needs to be

     3    involved.

     4                As far as the relevance and why they're looking to

     5    Ms. Lesser, two things on that.         First of all, we believe that

     6    the Court not look at the request in isolation, but in the

     7    larger landscape of what still needs to happen in discovery and

     8    how they've chosen to use their depositions thus far, but with

     9    respect to CCI, which is the entity that Ms. Lesser worked for

    10    and which no longer exists, the arguments you just heard

    11    highlight why this deposition is inappropriate.

    12                Mr. Buchanan mentioned that the CAS, that Cox wishes

    13    to look to as a comparable as to Cox's obligations.                   It's

    14    apples to oranges.      It's, in fact, to use another quote I heard

    15    somewhere, it's apples to penguins; it's that far off.

    16                The, the CAS was an experiment between certain

    17    content holders and ISPs.        It was an education project.               It by

    18    definition did not define the scope of the ISPs' legal

    19    obligations.

    20                Mr. Buchanan mentioned that, that the plaintiffs

    21    believe CAS is irrelevant because it wasn't legally required.

    22    That's not the reason it's irrelevant.             The reason it's

    23    irrelevant is it was an education program.               It explicitly says

    24    it's not a statement of your legal obligations under the law.

    25                Whatever obligations they do or don't have to




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     1    terminate under the law, that's Cox's obligations.                  You know,

     2    they have the same legal obligations under the law, and that's

     3    ultimately what a jury is going to adjudicate liability under.

     4                What Cox wants to do is, is say that's a statement of

     5    an ISP's legal obligations, and we're not infringers as a

     6    result, and it -- one has nothing to do with the other, and

     7    this discovery is, is really all aimed to deflect about their

     8    own conduct.

     9                As you heard, they're going to have their experts

    10    come in -- and first of all, our experts haven't opined that

    11    Cox ought to terminate after one notice.              I don't know where

    12    this comes from.      It, it can't be a justification for a

    13    deposition of Jill Lesser.

    14                This is an education program, and what Cox wants to

    15    do is make this false comparison to confuse and mislead a jury,

    16    and ultimately, I have no doubt this will be the subject of a

    17    motion in limine because they've, they've managed to squeak in

    18    and spend a lot of their deposition time with others on this,

    19    but the notion of now adding in yet another deposition that's

    20    wholly irrelevant is, is something that we just think is a

    21    bridge too far.

    22                THE COURT:     All right.     Well, thank you.           I

    23    appreciate the arguments.        I, you know, as I indicated, I think

    24    the 30(b)(6) of RIAA and the deposition of MarkMonitor are

    25    certainly appropriate.       I think given what I've heard here




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     1    today and have read in the briefs, I also think allowing

     2    Ms. Lesser to be deposed is appropriate.

     3                Sheckler, on the other hand, you know, I think

     4    anything that she did she would have done as a corporate

     5    representative of RIAA.       The 30(b)(6) notice covers those

     6    particular topics, and I really don't see there being good

     7    cause to extend the number of depositions to allow the person

     8    wanting to take the deposition to designate who should be the

     9    30(b)(6) designee, which is, in essence, what they're trying to

    10    do.

    11                So I'm going to grant the motion in part.                 I'm going

    12    to allow the RIAA, MarkMonitor, and Lesser depositions but not

    13    allow Ms. Sheckler to be deposed, okay?

    14                One other thing.       You filed a motion that you noticed

    15    for June 7.     I don't know, have you-all had a chance to look at

    16    that yet -- this is the motion to amend the exhibits to the

    17    amended complaint -- yet?

    18                MR. BUCHANAN:     Your Honor, I, I do not believe that's

    19    going to be an issue, and I think we just haven't had a chance

    20    to look at the content.

    21                THE COURT:     Okay.   The only reason I -- I'm committed

    22    to do a program down in Georgetown that morning.                 If I end up

    23    needing to have an argument, which I certainly hope I don't

    24    need to do, I'm just alerting you it's either going to be on

    25    Thursday afternoon or Friday -- the Thursday afternoon before




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     1    or the Friday, late that Friday afternoon.               So I just wanted to

     2    alert you to that, but hopefully, I won't need to see you in

     3    either of those times, okay?

     4                MR. BUCHANAN:     I don't think so, thanks.

     5                THE COURT:     Okay.   Thank you.

     6                MR. ZEBRAK:     Thank you, Your Honor.

     7                                  (Which were all the proceedings

     8                                    had at this time.)

     9

    10                          CERTIFICATE OF THE TRANSCRIBER

    11          I certify that the foregoing is a correct transcript from

    12    the official electronic sound recording of the proceedings in

    13    the above-entitled matter.

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    15                                                      /s/
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